TREG TAYLOR
ATTORNEY GENERAL

Jessie M. Alloway
Christopher Orman
Assistant Attorneys General
Department of Law
1031 West 4th Avenue, Suite 200
Anchorage, AK 99501
Telephone: (907) 269-5232
Facsimile: (907) 276-3697
Email: jessie.alloway@alaska.gov
        christopher.orman@alaska.gov

Attorneys for the State of Alaska

                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 STATE OF ALASKA,

      Plaintiff,                              Civil Action No.: 3:23-cv-00007-SLG

 v.
                                              STATE OF ALASKA’S
 BRYAN NEWLAND, in his official               UNOPPOSED MOTION FOR
 capacity as Assistant Secretary, Indian      LEAVE TO FILE AN OVER-
 Affairs, U.S. Department of the Interior;    LENGTH PLEADING
 and U.S. DEPARTMENT OF THE
 INTERIOR,

      Defendants, and

 CENTRAL COUNCIL OF THE TLINGIT
 & HAIDA INDIAN TRIBES OF
 ALASKA,

      Intervenor-Defendant.




           Case 3:23-cv-00007-SLG Document 15 Filed 07/28/23 Page 1 of 3
       Plaintiff, State of Alaska, seeks leave to file an over-length memorandum in

support of its motion for summary judgment. Per Local Rule 7.4, summary judgment

briefing is limited to 35 pages or 10,000 words. The State seeks leave to file a

memorandum that is no more than 14,000 words.

       At issue in this case is the Secretary of the Interior’s authority to take an Alaskan

Tribe’s fee land into trust and consequently create Indian country. The Secretary’s

purported authority stems from laws that were enacted in 1934 and 1936; the State’s

argument is that, to the extent the Secretary correctly interprets the 1934 and 1936 laws,

congressional action taken in 1971 negated that authority. To understand its legal

argument, the State must outline for the Court a history that spans from the Alaska

purchase to the present and provide a significant amount of statutory background,

including discussion of legislative history. While the State has strived to keep its

memorandum within the 10,000-word limit, more space is required.

       The word limit for a brief filed with the Ninth Circuit is 14,000 words and more

accurately fits the needs of this case.1 As such, the State would not oppose a similar

request by the other parties. Undersigned counsel conferred with counsel for the federal

defendants and the intervening defendant and both indicated that they would not oppose

this request.




1
       See Ninth Circuit Rule 32-1(a).

State of Alaska v. Newland, et al.            Civil Action No.: 3:23-cv-00007-SLG
Unopposed Motion to File an Over-Length Brief                           Page 2 of 3

         Case 3:23-cv-00007-SLG Document 15 Filed 07/28/23 Page 2 of 3
       For the reasons provided above, the State respectfully requests that the Court

expand Local Rule 7.2’s word limit for its memorandum in support of its summary

judgment motion to 14,000 words.

       DATED: July 28, 2023.

                                           TREG TAYLOR
                                           ATTORNEY GENERAL

                                            By: /s/ Jessie M. Alloway
                                                Jessica M. Alloway
                                                Assistant Attorney General
                                                Alaska Bar No. 1205045
                                                Email: jessie.alloway@alaska.gov

                                           By:    /s/ Christopher F. Orman
                                                  Christopher F. Orman
                                                  Assistant Attorney General
                                                  Alaska Bar No. 1011099
                                                  Email: christopher.orman@alaska.gov

                                                  Attorneys for the State of Alaska



CERTIFICATE OF SERVICE
I hereby certify that on July 28, 2023, I electronically filed the foregoing by using the
CM/ECF system. Participants in the case who are registered CM/ECF users will be
served by the CM/ECF system.

/s/ Angela Hobbs
Angela Hobbs
Law Office Assistant III




State of Alaska v. Newland, et al.            Civil Action No.: 3:23-cv-00007-SLG
Unopposed Motion to File an Over-Length Brief                           Page 3 of 3

         Case 3:23-cv-00007-SLG Document 15 Filed 07/28/23 Page 3 of 3
